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Case 2:13-cr-06070-SAB ECFNo.19 _ filed 12/11/13 PagelD.35 Pageiofi

FILED IN THE

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UNITED STATES DISTRICT COURT DEC 1 4
EASTERN DISTRICT OF WASHINGTON ei
SEAN F. McAVOY, CLERK
UNITED STATES OF AMERICA, ) © VARIA TASHINGTON UY
)  CR+13-6070-WFN
Plaintiff, )
) | ACKNOWLEDGMENT OF NOTICE OF
VS. ) RIGHTS
)
KENNETH RICHARD ROWELL, )
) (INDICTMENT)
Defendant. )
)

The undersigned Defendant does hereby acknowledge: I appeared on this date and was advised as
follows:

1) Of the charge or charges placed against me, and I acknowledge receipt of a copy of the:

Indictment

DO Superseding Indictment
o Superseding Indictment

which specifically sets forth the allegations;

2) That I have been advised of the maximum penalty provided by law;
3) My right to remain silent at all times and if I make a statement it can be used against me;
4) My right to retain my own counsel, and if 1 am without funds, to have counsel appointed to

represent me in this matter;

5) My right to a jury trial before a United States District Judge, to be confronted by the United
States’ witnesses and to have witnesses attend on my behalf;

6) My right, if I am not a United States citizen, to have my country’s consulate informed of my
arrest and detention.

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Date Defendant

Interpreted by (if applicable):

(sign and Print Name)

ACKNOWLEDGMENT
